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Attorney or Party Name, Address, Telephone & FAX Nos.:, State Bar No. &     FOR COURT USE ONLY
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    Individual appearing without attorney
    Attorney for: Debtor

                                             UNITED STATES BANKRUPTCY COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

List all names (including trade names) used by the debtor                   CASE NO.:.
within the last 8 years:
                                                                            CHAPTER 13
   Dunbar Lincoln Bradley, Jr
                                                                                             CHAPTER 13 PLAN

                                                                            CREDITORS MEETING:
                                                                            Date:
                                                                            Time:
                                                                            Place:


                                                                            CONFIRMATION HEARING:
                                                                            Date:
                                                                            Time:
                                                                            Place:
                                                               Debtor(s).

                                                                 NOTICE
This Chapter 13 Plan is proposed by the above Debtor. The Debtor attests that the information stated in this Plan is
accurate. Creditors cannot vote on this Plan. However, creditors may object to this Plan being confirmed pursuant to 11
U.S.C. § 1324. Any objection must be in writing and must be filed with the court and served upon the Debtor, Debtor's
attorney (if any), and the chapter 13 trustee not less than 7 days before the date set for the meeting of creditors. Unless
an objection is filed and served, the court may confirm this Plan. The Plan, if confirmed, modifies the rights and duties of
the Debtor and creditors to the treatment provided in the Plan as confirmed, with the following IMPORTANT
EXCEPTIONS:
Unless otherwise provided by law, each creditor will retain its lien until the earlier of payment of the underlying debt
determined under non-bankruptcy law or discharge under 11 U.S.C.§1328. If the case under this chapter is dismissed or
converted without completion of the Plan, such lien shall also be retained by such holder to the extent recognized by
applicable non-bankruptcy law.
Defaults will be cured using the interest rate set forth below in the Plan. Any ongoing obligation will be paid according to
the terms of the Plan.

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HOLDERS OF SECURED CLAIMS AND CLASS 1 CLAIMANTS WILL BE PAID ACCORDING TO THIS PLAN AFTER
CONFIRMATION UNLESS THE SECURED CREDITOR OR CLASS 1 CLAIMANT FILES A PROOF OF CLAIM IN A
DIFFERENT AMOUNT THAN THAT PROVIDED IN THE PLAN. If a secured creditor or a class 1 creditor files a proof of
claim, that creditor will be paid according to that creditor’s proof of claim, unless the court orders otherwise.

HOLDERS OF ALL OTHER CLAIMS MUST TIMELY FILE PROOFS OF CLAIMS, IF THE CODE SO REQUIRES, OR
THEY WILL NOT BE PAID ANY AMOUNT. A Debtor who confirms a Plan may be eligible thereafter to receive a
discharge of debts to the extent specified in 11 U.S.C. § 1328.

The Debtor proposes the following Plan and makes the following declarations:

I.    PROPERTY AND FUTURE EARNINGS OR INCOME SUBJECT TO THE SUPERVISION AND CONTROL OF THE
      CHAPTER 13 TRUSTEE:

            The Debtor submits the following to the supervision and control of the chapter 13 trustee:

      A.    Payments by Debtor of $825.00 per month for 60 months. This monthly Plan Payment will begin within 30 days
            of the date the petition was filed.

      B.    The base plan amount is $ 49,500.00 which is estimated to pay 100 % of the allowed claims of nonpriority
            unsecured creditors. If that percentage is less than 100%, the Debtor will pay the Plan Payment stated in this
            Plan for the full term of the Plan or until the base plan amount is paid in full, and the chapter 13 trustee may
            increase the percentage to be paid to creditors accordingly.

      C.    Amounts necessary for the payment of postpetition claims allowed under 11 U.S.C. § 1305.


      D.    Preconfirmation adequate protection payments for any creditor who holds an allowed claim secured by personal
            property where such security interest is attributable to the purchase of such property and preconfirmation
            payments on leases of personal property whose allowed claim is impaired by the terms proposed in the plan.
            Preconfirmation adequate protection payments and preconfirmation lease payments will be paid to the chapter
            13 trustee for the following creditor(s) in the following amounts:

 Creditor/Lessor Name                 Collateral Description                    Last 4 Digits of Account #                                 Amount
 -NONE-

      Each adequate protection payment or preconfirmation lease payment will commence on or before the 30th day from
      the date of filing of the case. The chapter 13 trustee shall deduct the foregoing adequate protection payment(s)
      and/or preconfirmation lease payment from the Debtor’s Plan Payment and disburse the adequate protection
      payment or preconfirmation lease payment to the secured(s) creditor(s) at the next available disbursement or as
      soon as practicable after the payment is received and posted to the chapter 13 trustee’s account. The chapter 13
      trustee will take his or her statutory fee on all disbursements made for preconfirmation adequate protection payments
      or preconfirmation lease payments.

      E.    Other property: (specify property or indicate none)
               NONE




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II.   ORDER OF PAYMENTS; CLASSIFICATION AND TREATMENT OF CLAIMS:
      Except as otherwise provided in the Plan or by court order, the chapter 13 trustee shall disburse all available funds
      for the payment of claims as follows:

      A.    ORDER OF PAYMENTS:

            1. If there are Domestic Support Obligations, the order of priority shall be:

                 (a) Domestic Support Obligations and the chapter 13 trustee’s fee not exceeding the amount accrued on
                     payments made to date;

                 (b) Administrative expenses (Class 1(a)) in an amount not exceeding                             % of each Plan Payment until
                     paid in full;

            2. If there are no Domestic Support Obligations, the order of priority shall be the chapter 13 trustee’s fee not
               exceeding the amount accrued on payments made to date, and administrative expenses (Class 1(a)) in an
               amount not exceeding 100 % of each Plan Payment until paid in full.

            3. Notwithstanding 1 and 2 above, ongoing payments on secured debts that are to be made by the chapter 13
               trustee from the Plan Payment; such secured debt may be paid by the chapter 13 trustee commencing with
               the inception of Plan Payments.

            4. Subject to 1, 2, and 3 above, pro rata to all other claims except as otherwise provided in the Plan.

            5. No payment shall be made on nonpriority unsecured claims until all secured and priority claims have been
               paid in full.




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      B.    CLASSIFICATION AND TREATMENT OF CLAIMS:

                                                CLASS 1
                     ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER 11 U.S.C. §507

The Debtor will pay Class 1 claims in full; except the debtor may provide for less than full payment of Domestic Support
Obligations pursuant to 11 U.S.C. §1322(a)(4).
                                                 AMOUNT OF                INTEREST             MONTHLY           NUMBER OF             TOTAL
              CATEGORY
                                               PRIORITY CLAIM             RATE, if any         PAYMENT            MONTHS              PAYMENT

a. Administrative Expenses

(1)     Chapter 13 trustee’s fee – estimated at 11% of all payments to be made to all classes through this Plan.

(2)     Attorney’s Fees                                    $3,500.00                                 $700.00            5                 $3,500.00

(3)     Chapter 7 trustee’s fees


(4)     Other

b. Other Priority Claims



(1)     Internal Revenue Service



(2)     Franchise Tax Board



(3)     Domestic Support Obligation



(4)     Other

c.      Domestic Support Obligations that are not to be paid in full in the Plan (specify creditor name):




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                                                                     CLASS 2

             CLAIMS SECURED SOLELY BY PROPERTY THAT IS THE DEBTOR’S PRINCIPAL RESIDENCE
                  ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE
     1.       The postconfirmation monthly mortgage payment will be made by the chapter 13 trustee from the Plan
     Payment to:
     2.           The postconfirmation monthly mortgage payment will be made by the Debtor directly to:

     Citimortgage                                                                                                xxxxxxxxx3342
                       (name of creditor)                                                  (last 4 digits of account number)

The Debtor will cure all prepetition arrearages for the primary residence through the Plan Payment as set forth below.

                                                                                          Cure of Default
                            Last 4 Digits of        AMOUNT OF            INTEREST            MONTHLY            NUMBER OF              TOTAL
Name of Creditor           Account Number           ARREARAGE              RATE              PAYMENT             MONTHS               PAYMENT



Citimortgage             xxxxxxxxx3342            $40,000.00                   0                    $727.27           55                $40,000.00




                                                                     CLASS 3

                   CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE PAID IN FULL
                                      DURING THE TERM OF THE PLAN

                                  Last 4
                                                                   SECURED                              Equal          NUMBER
                                 Digits of         CLAIM                            INTEREST                                           TOTAL
   Name of Creditor                                                 CLAIM                              Monthly           OF
                                 Account           TOTAL                              RATE                                            PAYMENT
                                                                   AMOUNT                              Payment         MONTHS
                                   No.




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                                                                     CLASS 4

   OTHER SECURED CLAIMS ON WHICH THE LAST PAYMENT IS DUE AFTER THE DATE ON WHICH THE FINAL
                               PAYMENT UNDER THE PLAN IS DUE
       1.         The postconfirmation monthly payment pursuant to the promissory note will be made by the chapter 13
       trustee from the Plan Payment to:
       2.          The postconfirmation monthly payment pursuant to the promissory note will be made by the Debtor
       directly to:


                       (name of creditor)                                                  (last 4 digits of account number)


                       (name of creditor)                                                  (last 4 digits of account number)

 The Debtor will cure all prepetition arrearages on these claims through the Plan Payment as set forth below.

                                                                                          Cure of Default
                            Last 4 Digits of        AMOUNT OF            INTEREST            MONTHLY            NUMBER OF              TOTAL
 Name of Creditor          Account Number           ARREARAGE              RATE              PAYMENT             MONTHS               PAYMENT




                                                                     CLASS 5

                                                  NON-PRIORITY UNSECURED CLAIMS

 The Debtor estimates that non-priority unsecured claims total the sum of $0.00 .

 Class 5 claims will be paid as follows:

 (Check one box only.)
          Class 5 claims (including allowed unsecured amounts from Class 3) are of one class and will be paid pro rata.
 OR
           Class 5 claims will be divided into subclasses as shown on the attached exhibit directly below (which also shows
 the justification for the differentiation among the subclasses) and the creditors in each subclass will be paid pro rata.


Debtors shall keep making payments on the non-dischargeable student loans with Navient. The trustee shall not
disburse any funds to Navient, and this debt to Navient shall survive the bankruptcy.

III.   COMPARISON WITH CHAPTER 7

The value as of the effective date of the Plan of property to be distributed under the Plan on account of each allowed
claim is not less than the amount that would be paid on such claim if the estate of the Debtor were liquidated under
chapter 7 of the Bankruptcy Code on such date. The amount distributed to nonpriority unsecured creditors in chapter 7
would be $ 8,700.00 which is estimated to pay 16.53 % of the scheduled nonpriority unsecured debt.

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IV.   PLAN ANALYSIS


CLASS 1a                                                                                                     $3,500.00

CLASS 1b                                                                                                          $0.00

CLASS 1c                                                                                                          $0.00

CLASS 2                                                                                                     $40,000.00

CLASS 3                                                                                                           $0.00

CLASS 4                                                                                                           $0.00

CLASS 5                                                                                                           $0.00

SUB-TOTAL                                                                                                   $43,500.00

CHAPTER 13 TRUSTEE'S FEE (Estimated 11% unless
advised otherwise)                                                                                           $4,905.60

TOTAL PAYMENT                                                                                               $49,500.00


V.    OTHER PROVISIONS

       A. The Debtor rejects the following executory contracts and unexpired leases.
            Name of Other Party:                                   Description of contract/lease:
               -NONE-

       B. The Debtor assumes the executory contracts or unexpired leases set forth in this section. As to each contract or
          lease assumed, any defaults therein and Debtor’s proposal for cure of said default(s) is described in Class 4 of
          this Plan. The Debtor has a leasehold interest in personal property and will make all post-petition payments
          directly to the lessor(s):
             Name of Other Party:                                Description of contract/lease:
               -NONE-

       C. In addition to the payments specified in Class 2 and Class 4, the Debtor will make regular payments, including
          any preconfirmation payments, directly to the following:
             Creditor Name:                                        Monthly Payment:
               Chase Auto                                                                       $333.00

       D. The Debtor hereby surrenders the following personal or real property. (identify property and creditor to which it
          is surrendered):
             Creditor Name:                                       Description:
               -NONE-

       E. The Debtor shall incur no debt greater than $500.00 without prior court approval unless the debt is incurred in
          the ordinary course of business pursuant to 11 U.S.C. §1304(b) or for medical emergencies.

       F. Miscellaneous provisions: (use attachment, if necessary):

Debtors shall keep making payments on the non-dischargeable student loans with Navient. The trustee shall not
disburse any funds to Navient, and this debt to Navient shall survive the bankruptcy.



       G. The chapter 13 trustee is authorized to disburse funds after the date confirmation is announced in open court.

       H. The Debtor will pay timely all postconfirmation tax liabilities directly to the appropriate taxing authorities as they
          come due.



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        I.     The Debtor will pay all amounts required to be paid under a Domestic Support Obligation that first became
               payable after the date of the filing of the petition.

VI.     REVESTING OF PROPERTY

             Property of the estate shall not revest in the Debtor until such time as a discharge is granted or the case is
             dismissed or closed without discharge. Revestment shall be subject to all liens and encumbrances in existence
             when the case was filed, except those liens avoided by court order or extinguished by operation of law. In the
             event the case is converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the
             estate shall vest in accordance with applicable law. After confirmation of the Plan, the chapter 13 trustee shall
             have no further authority or fiduciary duty regarding use, sale, or refinance of property of the estate except to
             respond to any motion for proposed use, sale, or refinance as required by the LBRs. Prior to any discharge or
             dismissal, the Debtor must seek approval of the court to purchase, sell, or refinance real property.



Date:         11/16/2017                                                        /s/D. Justin Harelik
                                                                                D. Justin Harelik 236710
                                                                                236710
                                                                                Attorney for Debtor


                                                                                /s/Dunbar Lincoln Bradley, Jr.
                                                                                Dunbar Lincoln Bradley, Jr
                                                                                Debtor




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